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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  United States of America,                                                       10/5/21

                 –v–
                                                                      20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                           ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       The Court is currently in the process of planning logistics for trial in this matter and

requires the parties’ best and current estimate of length of trial. The Court plans to have the jury

sit 5 days a week from 9am until 5pm. Given that jury selection will be complete by November

19 and opening statements will occur on November 29, the Court requests that the parties

provide their best estimate as to when the jury is likely to begin deliberations. This will allow

the Court to assess the likelihood that trial may continue after the Christmas holiday and

therefore whether the jury may be required to sit some days during the week between Christmas

and New Year’s Day. Accordingly, on or before October 12, 2021, the parties are ORDERED to

confer and submit a joint letter with their best and current estimate as to when the jury is likely to

begin deliberations.

       SO ORDERED.



 Dated: October 5, 2021
        New York, New York                         ____________________________________
                                                             ALISON J. NATHAN
                                                           United States District Judge




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